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                           IN THE UNITED STATES DISTRICT COURT

                                           DISTRICT OF KANSAS


ANGELICA HALE,

                 Plaintiff,

v.
                                                                        Case No. 16-4182-DDG-TJJ

EMPORIA STATE UNIVERSITY,                                               Judge Daniel D. Crabtree
                                                                        Magistrate Judge Teresa J. James
                 Defendant.



             PLAINTIFF’S FINAL TRIAL EXHIBITS AND TRIAL WITNESSES

         In accordance with Rule 26, and the Court‟s order in ECF 123, pro se Plaintiff Angelica

Hale (“Ms. Hale” or Plaintiff”) herein provides Defendant with the exhibits she intends to

introduce at trial, along with the names and contact information for the witnesses she plans to

call to testify at the bench trial set to begin on January 8, 2019 at 9:00 A.M. in Topeka, KS. All

witnesses that plaintiff intends to call may be considered adverse, and some have not accepted

service of their trial subpoenas, thus plaintiff does not know which witnesses will appear at trial.

Note: An “X” in the “Def.” column indicates that the document contains an admission against interest by a
Defendant or its agents. The purpose of an exhibit is not limited by the following verbiage. Exhibits may have
multiple purposes.

Exhibit # Exhibit Name                                                                   Location          Def.
              Excerpts from The Final Report of the American Library                     16-4182,
              Association External Review Panel for ESU SLIM dated December            ECF 113, pgs.
                                                                                         120-127
              14, 2015.
     1        Purpose: Shows that the Dean Alexander was an unfit leader for the                             X
              School of Library and Information Management, and that her
              management style did not promote diversity and/or harmony, and
              that turnover was excessively high, especially for persons of color.
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        The External Report prepared for Jackie Vietti by Ray Lauber.              16-4182,
2       Purpose: Explicitly states that Dean Alexander non-renewed                ECF 86, pg.     X
                                                                                     184.
        Angelica Hale‟s on account of her report of a hate crime.
        The Grievance Committee “Observations/Concerns” Letter in the              16-4182,
        Rajesh Singh matter that was sent to Cordle and former ESU                ECF 113, pg.
                                                                                     116
        president Michael Shonrock.
3       Purpose: States that SLIM Dean Alexander tolerated an atmosphere                          X
        of white supremacy, suppressed diversity, and that she was viewed
        by professionals in the library field and peers within ESU as unfit to
        be dean of a library school.
        SLIM Faculty Meeting Minutes from April 22, 2015.                          16-4182,
        Purpose: Documents department openings for Associate Dean and            ECF 113, pgs.
                                                                                    40-41
4       Marketing Coordinator, the latter being the position slated for
        Angelica Hale before she complained about racism and a hate crime
        to the Provost and ESU Police Department.
        Deposition of Gwen Alexander taken in the Rajesh Singh lawsuit             16-4182,
        against ESU et. al. dated August 16, 2016.                               ECF 113, pgs.
5                                                                                   43-45         X
        Purpose: Alexander states that the termination of a faculty member
        is a joint decision involving upper administration.
        ESU Policy Manual on Grievances.                                           16-4182,
6       Purpose: Shows that ESU violated several of its own policies when        ECF 113, pgs.
                                                                                    47-49
        conducting its investigation and preparing its results.
        Email from Dr. Hale to ESU SLIM Dr. Sarah Sutton applying to               16-4182,
7       Assistant Professor position.                                             ECF 113, pg.
                                                                                      51
        Purpose: Documents Dr. Hale‟s initial application to ESU SLIM.
        UCLA Certification of Completion of Dr. Hale‟s Doctoral Studies.           16-4182,
8       Purpose: Evidence that Dr. Hale completed his studies mid-year            ECF 113, pg.
                                                                                      53
        without the benefit of a doctoral year fellowship.
        Excerpts from the UCLA 2014 Conferral of Doctoral Degrees                  16-4182,
        Booklet.                                                                 ECF 113, pgs.
9                                                                                   54-55
        Purpose: Documentation of Dr. Hale‟s completion of his PhD at
        UCLA by defending a theory of visual cognition.
        Eugene V. Cota-Robles Fellowship grant and information.                    16-4182,
10      Purpose: Documents Dr. Hale‟s receipt of a prestigious academic          ECF 113, pgs.
                                                                                    57-71
        award, attesting to his scholarship.
        Invitation and photo of Dr. Hale honored for academic excellence by        16-4182,
11                                                                               ECF 113, pg.73
        UCLA Chancellor Gene Block.


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        Purpose: Documents Dr. Hale‟s receipt of a prestigious academic
        award from UCLA.
        Email from Dr. Sarah Sutton to Dr. Hale inviting him to a Skype          16-4182,
        interview.                                                              ECF 113, pg.
12                                                                                  75
        Purpose: Documents the second step in Dr. Hale‟s application to
        SLIM.
        Email from Dr. Sarah Sutton to Dr. Hale inviting him to an on-           16-4182,
        campus interview at ESU SLIM.                                           ECF 113, pg.
13                                                                                  77
        Purpose: Documents the conditions for Dr. Hale‟s on-campus
        interview.
        Email from Dr. Hale to Dr. Sutton informing her that he was               16-4182,
        declining the offer for the interview due to the requirement he front   ECF 113, pgs.
                                                                                   79-80
        travel expenses.
14
        Purpose: Documents Dr. Hale‟s declination of the on-campus
        interview due to financial hardship related to having to front travel
        expenses.
        Photos of the Hale‟s vintage Jaguar automobiles.                         16-4182,
        Purpose: Documents the vehicles referenced by defendant, one of         ECF 113, pg.
15                                                                                  82
        which was sold to Debra Rittgers shortly after Ms. Hale and Dr. Hale
        arrived in Emporia.
        Photo of the Hale residence in Emporia, Kansas.                          16-4182,
        Purpose: Depicts the residence which Ms. Hale and Dr. Hale bought       ECF 113, pg.
16                                                                                  84
        on a ten-year mortgage shortly after they arrived in Emporia,
        intending a long stay in Emporia community.
        Photo of Angelica coordinating the production of a photo shoot with      16-4182,
        Dean Gwen Alexander.                                                    ECF 113, pg.
17                                                                                  86
        Purpose: Documents the type of work performed by Angelica Hale,
        working closely with the dean.
        Photos of the basement room Dr. Hale painted for Dean Alexander.         16-4182,
18      Purpose: Depicts the work Dr. Hale and Ms. Hale performed for           ECF 113, pg.
                                                                                    88
        Dean Alexander as a neighbor who lived a block away.
        Photos of Angelica Hale and Dr. Hale at ESU SLIM and related              16-4182,
        functions.                                                              ECF 113, pgs.
19                                                                                 90-98
        Purpose: Depicts social interactions by Ms. Hale and Dr. Hale at
        SLIM.
        Photos of Dean Alexander‟s dogs, Chica and Nina.                          16-4182,
20                                                                              ECF 113, pgs.
        Purpose: Documents Angelica‟s involvement in caring for Dean


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        Alexander‟s dogs.                                                         100-101
        Email from Dow to Dean Alexander entitled: “concern.”                    16-4182,
21      Purpose: Email is self-descriptive. Dow wanted Dean Alexander to        ECF 113, pg.    X
                                                                                   103
        retain Angelica and Dr. Hale because of their valuable contributions.
        August 28, 2015 letter from Cordle to Dr. Hale.                           16-4182,
22      Purpose: Documentation of the beginning of the “cooling off             ECF 113, pgs.
                                                                                  105-106
        period” for Dr. Hale.
        Peer-reviewed research from seven studies showing that people see         16-4182,
        black men as larger and more threatening than white men.                ECF 113, pgs.
                                                                                  108-112
23      Purpose: To show that ESU administrators attempted to invoke a
        well-researched racial phenomena and stereotype to falsely depict
        Dr. Hale as a menacing bully.
        Vendor‟s webpage showing Lizzie Borden, “Hatchet Lady,” in a             16-4182,
        lenticular photo which Dean Alexander purchased on a business trip      ECF 113, pg.
                                                                                   114
        to Utah with Angelica Hale.
24
        Purpose: To show that Dean Alexander internalized and was
        humored by the moniker she had at ESU as the “Hatchet Lady” for
        her role in firing numerous employees.
        ESU SLIM Profile of Candace Boardman.                                    16-4182,
        Purpose: The profile of SLIM‟s program director who is accused of       ECF 113, pg.
25                                                                                 118
        venerating Hitler in the Rajesh Singh Grievance Committee Report
        sent to President Michael Shonrock and Provost David Cordle.
        Photo of Dr. Hale‟s Office in SLIM.                                     15-4947, ECF
26                                                                               20-1, pg. 12
        Purpose: Documentation of Dr. Hale‟s office in SLIM.

        Photo of Angelica Hale‟s office in SLIM.                                 16-4182,
27                                                                              ECF 113, pg.
        Purpose: Documentation of Angelica Hale‟s office in SLIM.
                                                                                   129
        Faculty and Staff at ESU SLIM in March 2014 from SLIM website.           16-4182,
28      Purpose: To show the composition of SLIM staff before Angelica          ECF 113, pg.
                                                                                   131
        and Dr. Hale arrived, and the rapid turnover of faculty.
        Faculty and Staff at ESU SLIM in December 2014 from SLIM                 16-4182,
        website.                                                                ECF 113, pg.
29                                                                                 133
        Purpose: To show the composition of SLIM staff after Angelica and
        Dr. Hale arrived, and the rapid turnover of faculty.
        Excerpts from Dr. Hale‟s August 17, 2015 phone conversation with          16-4182,
30      Dow.                                                                    ECF 113, pgs.   X
                                                                                  135-138
        Purpose: To show that Dr. Hale and Dr. Dow had similar views on



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        the alleged hate crime, on the climate of rear in SLIM, and on the
        behavior of Dean Alexander; and the negative actions that ESU
        would take to fend off allegations of racism, despite the facts.
        Recording of Dr. Hale‟s August 17, 2015 phone conversation with            15-4947,
        Dow.                                                                     ECF 72, CD
31                                                                             filed with Court   X
        Purpose: Supports the transcript of the conversation between Dow
                                                                                   and Defs.
        and Dr. Hale.

        Comments from ESU SLIM students on the climate in SLIM.                  16-4182,
32                                                                             ECF 113, pgs.
        Purpose: Support from third parties regarding the climate in SLIM.
                                                                                 140-147
        Student evaluations and ratings of Dr. Hale.                             16-4183,
33      Purpose: Documents the exceptional performance of Dr. Hale as a        ECF 35, pgs.
                                                                                 110-115
        first and second year assistant professor at SLIM.
        Facts About Retaliation from EEOC website.                               16-4182,
34      Purpose: Official documentation which defines workplace                 ECF 113, pg.

        retaliation.
        Vietti‟s email announcing no furloughs for ESU employees.                16-4182,
                                                                                ECF 113, pg.
        Purpose: Proof that adverse financial issues in Kansas did not
35                                                                                 153            X
        negatively impact any employee at ESU in July 2015 forward,
        despite defendant‟s claims that it did.
        Letter from KHRC instructing Angelica Hale on how to close her           16-4182,
        complaint.                                                             ECF 113, pgs.
                                                                                 155-156
        Purpose: To show that the KHRC closed Angelica Hale‟s complaint
36
        without taking any action despite having the case for over 300 days,
        and that this may have something to do with their relationship with
        Kevin Johnson as a KHRC official.
        Letter from KHRC instructing Dr. Hale on how to close his              15-4947, ECF
        complaint.                                                              20-1, pg. 2

        Purpose: To show that the KHRC closed Dr. Hale‟s complaint
37
        without taking any action despite having the case for over 180 days,
        and that this may have something to do with their relationship with
        Kevin Johnson as a KHRC official.
        Right to Sue letter from the DOJ for Dr. Hale.                         15-4947, ECF
38      Purpose: Documentation that Dr. Hale had a right to sue ESU for        20-1, pgs. 2-7

        retaliation.

        Right to Sue letter from the DOJ for Angelica Hale.                      16-4182,
39                                                                              ECF 113, pg.
        Purpose: Documentation that Angelica had a right to sue ESU.
                                                                                   158


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        Action Matters program information at the University of Wisconsin,      16-4182,
        Oshkosh.                                                              ECF 113, pgs.
40                                                                              161-162
        Purpose: An example of how reports of discrimination are handled
        in similarly-situated academic institutions.
        Dr. Hale‟s First Semester letter of achievements from Dean             16-4182,
        Alexander.                                                            ECF 113, pg.
41                                                                               163          X
        Purpose: Documentation of Dr. Hale‟s achievements in SLIM in
        2014.
        Dean Alexander‟s retirement mentioned in the Spring                     16-4182,
        Commencement, 2016.                                                   ECF 113, pgs.
42                                                                              165-166
        Purpose: To show that ESU supported Dean Alexander with a full
        retirement package despite official reports of her mismanagement.
        Facebook post by Jason Brooks lamenting racism at ESU.
43      Purpose: Evidence of racial discrimination at ESU in 2014
        described by the then Director of Diversity at ESU.
        Job posting of Title IX Officer sought by ESU.
        Purpose: Description of this position describes the manner in which
        reports of harassment and discrimination should be handled. Ray
44
        Lauber held this title while conducting the investigation into
        Angelica and Dr. Hale‟s report of a hate crime, and his actions do
        not correspond to the job description.
        A copy of the document in which President Jackie Vietti announced     15-4947, ECF
        the exoneration of Debra Rittgers.                                    13, pgs.42-44
45
        Purpose: Documentation of the circumstances under which Rittgers
        was exonerated.
        A copy of the call detail records from AT&T, showing when Wendy       15-4947, ECF
        Carlson‟s message was left on Angelica‟s voicemail.                     13, pg. 34
46
        Purpose: Evidence of the date and time of Carlson‟s expert opinion,
        which Angelica paid $300 for.
        A copy of the text messages sent and received between Angelica        16-4183, ECF
        Hale and Dr. Hale on April 8, 2015.                                   35, pgs. 119-

47      Purpose: Documentation of the hate speech incident that allegedly
        occurred in SLIM student Brenda Rahmoeller‟s office on the 4th
        floor of SLIM.
        A transcript of the verbal opinion of Wendy Carlson.                  15-4947, ECF
48      Purpose: Documentation of the paid opinion of a forensic document       4, pg. 24

        examiner as to the authorship of the racial slur “Niggaz” found in


                                                       6
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        SLIM student Brenda Rahmoeller‟s notepad.
        A transcript of Dean Gwen Alexander‟s remarks regarding Wendy           16-4183, ECF
        Carlson‟s opinion and other matters on July 7, 2015.                    35, pgs. 40-46

49      Purpose: Evidence of Alexander‟s out-of-hand dismissal of
        Carlson‟s expert opinion, and her anger with Angelica and Dr.
        Hale‟s report of a hate crime.
        A photo of President Vietti meeting with the Black Student Union on     15-4947, ECF
        September 17, 2015.                                                      20-1, pg. 15

        Purpose: Documentation of Vietti‟s visit with the BSU and Jhon
50
        Huachaca (also with HALO) two days after the first March on
        Emporia. Following Vietti‟s visit, the BSU withdrew all support for
        Angelica and Dr. Hale and their protests against racism at ESU.
        A copy of the Black Student Union agenda for September 17, 2015.        16-4183, ECF
51                                                                               35, pg. 210
        Purpose: The agenda for the meeting when Vietti visited.
        A copy of the Black Student Union agenda for September 24, 2015.        16-4183, ECF
        Purpose: The agenda for the next meeting of the BSU in which the         35, pg. 211
52
        topic of “disassociating” with a member of the university is
        discussed.
        A copy of an email message sent to Dean Gwen Alexander by               15-4947, ECF
        Melvin Hale on August 26, 2015.                                           71, pg. 84

53      Purpose: Documentation of Alexander‟s conduct in the faculty
        meeting which Dr. Hale told her was a violation of freedom of
        speech.
        A transcript of what was said in the SLIM faculty meeting on August     16-4183, ECF
        26, 2015.                                                               35, pgs. 69-70

54      Purpose: Documentation of Dr. Hale being viciously shut down for
        discussing the upcoming protest march against racism by Dean
        Alexander and Associate Dean Andrew Smith.
        A copy of a letter of support from educators across the country that    15-4947, ECF
        Melvin Hale wanted to present to the SLIM faculty.                      13, pgs. 60-62

55      Purpose: To show that there was public interest in the protests
        against racism at ESU, especially in library schools, and support for
        Dr. Hale.
        A copy of a letter of support from black faculty and staff at Emporia   15-4947, ECF
        State University.                                                       13, pgs. 64-66
56
        Purpose: To show that initially there was significant support at ESU
        for the Hale‟s protests against racism and discrimination.


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        A copy of an email sent by Black Student Union vice president,          15-4947, ECF
        Deidra Elijah, to President Vietti on September 9, 2015.                 17-1, pg. 16
57
        Purpose: To show the level of concern about the official
        investigation into racism by this ESU student leader.
        A copy of the email sent by President Vietti to Elijah in response to   15-4947, ECF
        her email.                                                                56, pg. 83

        Purpose: To show that Vietti was responsive to the BSU request for
58                                                                                              X
        a meeting, but not to the Hales request to meet with her. That Vietti
        was deliberately indifferent to Dr. Hale‟s concerns about retaliation
        and racism in SLIM.
        A copy of Elijah‟s text message to Angelica on September 3, 2015.       17-4019, ECF
59      Purpose: Evidence that Angelica and Dr. Hale‟s concerns about            22-1, pg. 28

        racism at ESU was a matter of broad concern.
        A photo posted by Elijah on her Facebook page showing her selling       15-4947, ECF
        t-shirts with two other Black Student Union members.                      56, pg. 77
60
        Purpose: Shows that the BSU publicly supported protests against
        racism at ESU before Vietti visited the BSU on Sept. 17, 2015.
        Associated Press article published on July 29, 2015.                    15-4947, ECF
61      Purpose: Shows that the report of discrimination and racism was a         13, pg. 58

        matter of national mass media concern.
        Catherine Terrell‟s comment on the Change.org petition.                 17-4019, ECF
        Purpose: Shows that someone long affiliated with ESU believed that       22-2, pg. 4
62
        Black students, faculty and staff at ESU deserved a stronger message
        of acceptance and inclusion.
        Book cover from Django Unchained and the March on Emporia               17-4019, ECF
        State.                                                                    63, pg. 82

63      Purpose: Shows that Dr. Hale was incensed enough to be motivated
        to write a book detailing the way ESU conducted a cover-up and a
        sham “investigation” into his report of a hate crime.
        A photocopy of the notebook page with the word “NIGGAZ” on it.          15-4947, ECF
64      Purpose: Shows what was found by the student and reported as a            71, pg. 65

        hate crime.
        A copy of a web page from iOTWReport.com in which Dr. Hale is           15-4947, ECF
        referred to as a “dipshit” with “juvenile thinking.”                      13, pg. 73
65
        Purpose: Evidence of harm to Dr. Hale‟s reputation caused by the
        illegal conduct of the university, Vietti et al.
66      A copy of an article on the website DownTrend.com.                      15-4947, ECF


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        Purpose: Evidence of harm to Angelica and Dr. Hale‟s reputation             13, pgs. 75-78
        caused by the illegal conduct of the university, Vietti et al.
        A copy of a Facebook page by James Alt referring to Dr. Hale as a           15-4947, ECF
        race-baiting” “social justice warrior.”                                     13, pg. 80-81
67
        Purpose: Evidence of harm to Dr. Hale‟s reputation caused by the
        illegal conduct of the university, Vietti et al.
        A copy of the Moonbattery website pages referring to Melvin and             15-4947, ECF
        Angelica Hale.                                                              13, pgs. 85-89
68
        Purpose: Evidence of harm to Angelica and Dr. Hale‟s reputation
        caused by the illegal conduct of the university, Vietti et al.
        A copy of the agenda for the meeting of the accreditation team for          15-4947, ECF
                                                                                    71, pgs. 72-73
        SLIM from the American Library Association the week of October
69      26, 2015.
        Purpose: Shows that Angelica and Dr. Hale were excluded from
        meeting with the ALA ERP, and silenced from telling their story.
        A partial transcript and photos from Alexa Thomas‟s YouTube video           17-4019, ECF
        entitled My Story.                                                          63, pgs. 104-
                                                                                         106
        Purpose: Shows that Angelica and Dr. Hale‟s protests against
70
        racism did not prevent Debra Rittgers daughter from having a
        pleasant college experience as they claim, and that many of her
        “issues” arose before she came to ESU.
        A copy of the WTF303 Facebook page and related pages.                       17-4019, ECF
        Purpose: Shows that Debra Rittgers daughter and live-in                     63, pgs. 108-
71                                                                                       110
        companion, Paul Mains, were members of a Facebook group which
        used a racial slur about Blacks on its homepage.
        Excerpts from a book that Dr. Hale is researching entitled: Emporia
72      State University - Case Study of a 21st Century Lynch Mob.
        Purpose: Dr. Hale memoir about his experience at ESU.
        A copy of an email from Change.org referring to Angelica and Dr.
        Hale as niggers that need to go back to Compton, California.
73      Purpose: Evidence of hatred against Angelica and Dr. Hale for
        reporting racism and a hate crime caused by defendant‟s false
        statements.
        A copy of the letter given to Melvin Hale by David Cordle on                15-4947, ECF
        October 12, 2015.                                                           13, pgs. 93-94
74
        Purpose: Evidence of ESU illegally demanding that Dr. Hale not
        pursue civil rights litigation, a constitutional right, in exchange for a


                                                      9
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        semester‟s salary.
        A photo of Kevin Johnson being served the first federal complaint,         15-4947, ECF
        Hale v. ESU, by Angelica Hale on October 15, 2015.                          17-1, pg. 74

        Purpose: Visual evidence that Dr. Hale took legal action against
75      ESU the same week that Cordle stated that he was not interested in
        Dr. Hale‟s version of events relating to the “Cooling off period,” and
        the Hale‟s report of a hate crime, i.e. showing deliberate
        indifference.
        Email from SLIM student Kevin Pack dated September 15, 2016.               16-4182, ECF
        Purpose: Shows strong support for Dr. Hale from a SLIM student,            67-1, pgs. 2-3
76
        and disapproval of the way ESU and SLIM handled the
        “investigation.”
        Email from SLIM student Kevin Pack dated December 31, 2016.                16-4182, ECF
        Purpose: Shows strong support for Dr. Hale from several SLIM                67-2, pg. 2
77
        students, and disapproval of the way ESU and SLIM handled the
        “investigation.”
        Emporia Gazette newspaper story announcing the results of the              16-4183, ECF
        investigation into the hate crime dated September 10, 2015.                  57, pg. 56
78
        Purpose: Commentary on the story reveals schisms in Emporia on
        the issue of race and what happened at ESU.
        Photo and quotation from the Emporia Gazette newspaper story               15-4947, ECF
        dated September 10, 2015.                                                 49-1, pgs. 11-13
79
        Purpose: Evidence of media interest in the story and evidence of
        falsehoods told to the media.
        Transcript of the ESU September 9, 2015 press conference as                16-4183, ECF
        published by KVOE.                                                         35, pgs. 74-84

80      Purpose: Irrefutable evidence of the statements made by Vietti and                           X
        Johnson on September 9, 2015 when they reported the results of
        their internal “investigation.”
        List of forty-two falsehoods allegedly told by ESU in the results of        16-4183,
                                                                                  ECF 41-1, pgs.
        the investigation.
                                                                                       2-6
81      Purpose: Proof that Vietti et al. intentionally and maliciously lied on
        Angelica and Dr. Hale and misled the public regarding the hate
        crime incident that he reported.
        Photographs of the September 15, 2015 March on Emporia.                    16-4182, ECF
82      Purpose: Shows evidence of public interest and concern over reports        86, pgs. 220-
                                                                                  222; se also 15-
        of racism at ESU and SLIM.                                                4947, ECF 17-

                                                   10
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                                                                              1, pgs. 8-12
        ESU Bulletin September 10, 2015 story on the results of the          16-4183, ECF
        investigation.                                                       35, pgs. 128-
83                                                                                129         X
        Purpose: Documents abject lies told by defendant to the media at
        their September 9, 2015 press conference.
        Photograph of the fourth floor office where the slur was found.      16-4183, ECF
84      Purpose: Proves that the office was not a big open office where       35, pg. 126

        anyone and everyone had access as claimed by defendant.
        Photograph of Angelica Hale‟s office on the fourth floor of SLIM,    15-4947, ECF
        and the graduate student‟s desk in her office.                        49-1, pg. 9
85
        Purpose: Evidence of the fact that the graduate student worked for
        Angelica. Angelica was the one who did her performance review.
        Email from Gwen Alexander to Angelica Hale dated May 5, 2015         16-4183, ECF
        asking her to do the graduate student‟s job evaluation.               35, pg. 131

86      Purpose: Dispels the false claim made by the administration that                      X
        Ms. Hale did not have any reporting relationship with the graduate
        student who reported the hate speech incident to her.
        Vitae of Wendy Carlson.                                              15-4947, ECF
87      Purpose: Credentials of Wendy Carlson as a forensic document         13, pgs. 30-32

        examiner posted online for the public.
        FBI definition of hate crime.                                        16-4183, ECF
        Purpose: Evidence that law enforcement takes a much broader view     35, pgs. 137-
88                                                                           139, see also:
        of what constitutes hate crime compared to the definition provided
                                                                             15-4947, ECF
        by ESU at its press conference and communications to the public.       13, pg. 68
        Hate Crime Symposium 2015 program information.                       16-4183, ECF
        Purpose: Evidence that law enforcement takes a much broader view     35, pgs. 133-
89                                                                                135
        of what constitutes hate crime compared to the definition provided
        by ESU at its press conference and communications to the public.
        Letter from Jackie Vietti to the Emporia Connection dated            16-4183, ECF
        September 15, 2015, and negative commentary from one of the          35, pgs. 144-
                                                                                  147
        recipients about Angelica and Dr. Hale. Shared on ESU SLIM alum
90      Allie Flanary‟s Google Plus page September 21, 2015.                                  X
        Purpose: Shows the extent to which the defendants would go to
        discredit Angelica and Dr. Hale. Also restates Vietti‟s narrow
        definition of hate crime.

        Graphics depicting the Investigation.                                16-4183, ECF
91                                                                           56, pgs. 120-
        Purpose: Graphic representation plaintiff‟s claims about the sham
                                                                                  121

                                                    11
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         internal “investigation.”
         ESU Bulletin editorial from September 10, 2015 entitled: Those         15-4947, ECF
         Who Cry Wolf.                                                          13, pgs. 55-56
92
         Purpose: Demonstrates the effect that defendant‟s falsehoods had on
         the student body at ESU and the reputation of plaintiff.
         Emporia Gazette story regarding Melvin Hale filing a lawsuit against   16-4183, ECF
         ESU published October 16, 2015.                                        56, pgs. 126-
93                                                                                   138
         Purpose: Examination of stories told by the defendants, and the
         damage it ignited against Angelica and Dr. Hale in Emporia
         ReligioPoliticalTalk article entitled: *Sigh* Another Faux Racist      16-4183, ECF
         “Attack.”                                                              56, pgs. 169-
                                                                                     180
         Purpose: Shows the pushback against reports of racism and bigotry
94
         in a certain sector of the White community. Equates all reports of
         racism with hoaxes. Angelica and Dr. Hale are inducted as hoaxers
         in the related Moon Battery site.
         Faculty Senate Executive Committee notes for September 10, 2015.       16-4183, ECF
95       Purpose: Information of what the administration told the faculty       57, pgs. 188-
                                                                                     192
         senate about the results of the “investigation.”
         Faculty Senate Meeting notes for September 25, 2015.
96       Purpose: Information of what the administration told the faculty
         senate about the results of the “investigation.”
         Emails with attorney David Trevino regarding Gwen Alexander and        16-4183, ECF
         the graduate student.                                                  35, pgs. 62-67
97
         Purpose: Confirms that no one at ESU followed up on the hate
         speech incident right after it occurred.
         Partial transcript of October 12, 2015 meeting with David Cordle       16-4183, ECF
         and Kevin Johnson.                                                     35, pgs. 149-
98                                                                                   150         X
         Purpose: Proof that defendant demonstrated deliberate indifference
         to discrimination and retaliation in SLIM.
         Emporia Gazette article from September 9, 2015.                        16-4183, ECF
99       Purpose: Documentation of the falsehoods that ESU told the media       57, pgs. 194-
                                                                                     197
         when they issued the results of their internal “investigation.”
         Photograph of Kevin Johnson and Jackie Vietti at the September 9,      16-4183, ECF
         2015 press conference.                                                   57, pg. 54

100      Purpose: Visual evidence collected at the time university
         representatives were lying to the press about the hate speech
         incident.


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         Graphics depicting the ESU investigation as a cover-up.                   16-4183,
101      Purpose: A visual depiction of how the “investigation” could be         ECF 41-1, pgs.   X
                                                                                      8-9
         characterized.
         Emporia Gazette October 16, 2015 re: Melvin Hale filing a lawsuit       16-4183, ECF
         against ESU.                                                            57, pgs. 126-
102                                                                                   138
         Purpose: Evidence of continuing public interest in the protest issues
         and how the university was handling them.
         Webpage showing Jackie Vietti‟s membership on the Higher                16-4183, ECF
         Learning Commission Board of Directors at the same time as one of        57, pg. 181

103      the outside reviewers.                                                                   X
         Purpose: Contradicts Vietti‟s claim to have brought “independent
         outside reviewers” to examine Lauber‟s processes and conclusions.
         Example of an Upjohn Warning.                                           16-4183, ECF
104      Purpose: To show how a typical internal investigation might be           57, pg. 199

         situated for the sake of employee participation.

         Partial transcript of Dr. Hale‟s meeting with Ray Lauber.               16-4183, ECF
105                                                                              57, pgs. 201-    X
         Purpose: To show how Lauber described his task.
                                                                                      201
         Partial transcript of August 17, 2015 conversation between Melvin       16-4182, ECF
         Hale and Mirah Dow.                                                     113, pgs. 135-
                                                                                      138
106      Purpose: Shows that Dr. Hale Dow shared many of the same
         concerns about the hate speech incident, the dean and what was
         wrong with the culture in SLIM and ESU.
         Allison Garrett comment on ESU being a “model of diversity” on          16-4182, ECF
         KVOE.                                                                    86, pg. 100

107      Purpose: Evidence of how ESU wanted to position its attitude
         towards diversity in the media while practicing “catch and kill” on
         Hale stories.
         ESU‟s Diversity, Equity, and Inclusion Plan.                            16-4182, ECF
         Purpose: To show how much work ESU had to do to try to meet a           86, pgs. 102-
                                                                                      125
108      public and legal perception of equality despite its continued
         persecution of Angelica and Dr. Hale for opposing racism and a lack
         of diversity.
         Email asking KVOE to publish relevant Court Order update.               16-4182, ECF
         Purpose: To show how local media was influenced by ESU to deny           86, pg. 127
109
         coverage by employing “catch and kill” reports of the lawsuits
         brought against it for discrimination.



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         Email messages with Sherman Smith at Topeka Capital Journal.              16-4182, ECF
         Purpose: To show how local media was influenced by ESU to deny             86, pg. 129
110
         coverage by employing “catch and kill” reports of the lawsuits
         brought against it for discrimination.
         Vitae of Koch Industries‟ President Dave Robertson.                       16-4182, ECF
111      Purpose: To show the close relationship Koch Industries enjoys             86, pg. 131

         with ESU and its students/graduates.
         ESU students visiting Koch Industries.                                    16-4182, ECF
112      Purpose: To show the close relationship Koch Industries enjoys           47-2, pgs. 33-34

         with ESU and its students/graduates.
         Robert Page speaking with the media, Angelica and Dr. Hale on             16-4182, ECF
         Nov. 19, 2015.                                                             86, pg. 133

         Purpose: Shows how callously ESU exploited sympathetic Blacks to
113
         burnish its image as racially tolerant and diverse, while maintaining
         a lawsuit with Angelica and Dr. Hale for protected activity related to
         reporting discrimination.
         Robert Page‟s new position announced at Metro. Community                  16-4182, ECF
         College.                                                                   86, pg. 135

         Purpose: Shows how callously ESU exploited sympathetic Blacks to
114
         burnish its image as racially tolerant and diverse, while maintaining
         a lawsuit with Angelica and Dr. Hale for protected activity related to
         reporting discrimination.
         Attorney Fred Gray awarded Honorary Doctorate at ESU.                     16-4182, ECF
         Purpose: Shows how callously ESU exploited sympathetic Blacks to           86, pg. 137

115      burnish its image as racially tolerant and diverse, while maintaining
         a lawsuit with Angelica and Dr. Hale for protected activity related to
         reporting discrimination.
         Email from Melvin Hale to David Cordle dated June 15, 2015.               16-4183, ECF
116      Purpose: Shows the initial contact by Dr. Hale to Cordle re: hate          35, pg. 199

         crime.
         Email from Melvin Hale to Jackie Vietti dated September 18, 2015.         16-4183, ECF
         Purpose: Shows that Dr. Hale made his and Angelica‟s concerns             35, pgs. 203-
117                                                                                     204
         about retaliation known to Vietti, and that she was deliberately
         indifferent.
         Angelica Hale‟s Open Letter to Gwen Alexander dated July 27,              16-4182, ECF
118      2015.                                                                      47-3, pg. 7

         Purpose: Show the state of mind of Angelica Hale when she sent


                                                    14
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         this message to numerous individuals after she was forced to resign
         from SLIM.
         Gwen Alexander‟s email announcing a replacement for Angelica           16-4182, ECF
         Hale.                                                                   86, pg. 150

119      Purpose: To prove that Angelica was both qualified for her position,                    X
         and that her position was not eliminated when her contract was
         abruptly terminated.
         Facebook post from a SLIM alum describing his experience with          15-4947, ECF
         racism at ESU                                                           56, pg. 108
120
         Purpose: Evidence that the perception of racism at ESU preceded
         Angelica and Dr. Hale.
         ESU‟s Title VII policy explicitly forbidding repeated ignoring of a    15-4947, ECF
         university community member.                                             56, pg. 35
121
         Purpose: Shows that the Cooling Off Period violated ESU‟s own
         Title VII policy against repeated ignoring of a community member.
         Photo of Allison Garrett‟s Cabinet at ESU in 2018.                     16-4182, ECF
         Purpose: Shows that ESU‟s definition of diversity, as in President      86, pg. 159

         Allison Garrett claiming that ESU was a “model of diversity,” did
122                                                                                              X
         not extend to campus governance at the highest levels, and that this
         statement was false and misleading, a common practice by ESU
         leadership.
         Angelica Hale‟s Statement dated June 19, 2018.                         16-4182, ECF
123      Purpose: Statement on Ms. Hale‟s experiences in SLIM in general,           86-1

         and specifics regarding the April 8, 2015 incident.
         Sworn declaration of Melvin Hale dated April 2, 2018.                  16-4182, ECF
124      Purpose: Statement on Dr. Hale‟s experiences in SLIM in general,           86-2

         and specifics regarding the April 8, 2015 incident.
         Vietti‟s email blast to the ESU campus on September 9, 2015.           15-4947, ECF
125      Purpose: Message that Vietti told the ESU campus about the results     13, pgs. 42-44

         of the “investigation.”
         Vietti‟s email blast the ESU campus on September 10, 2015.             15-4947, ECF
126      Purpose: Message that Vietti told the ESU campus about the results     13, pgs. 36-40

         of the “investigation” and the exoneration of Debra Rittgers.
         Ray Lauber‟s emails with Dr. Hale regarding his familial               15-4947, ECF
         relationship with Debra Rittgers.                                       17-1, pg. 30
127                                                                                              X
         Purpose: Suggests that Lauber should have recused himself and
         allowed someone else to conduct an investigation involving Rittgers.


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         Emporia Gazette article dated February 14, 2018: ESU Misconduct          16-4183,
         Investigation Leaves Student „Helpless.‟                                ECF 54, pgs.
128                                                                               195-203
         Purpose: Show that many students believe that ESU has a pattern of
         conducting unreliable internal investigations.
         Partial transcript of Angelica Hale‟s Conversation with AAG Carrie        16-4182,
         Barney on October 2, 2017.                                              ECF 94, pg. 23

         Purpose: Proof that ESU withheld crucial evidence when they
129                                                                                               X
         announced the results of their internal “investigation” which should
         have been provided to both Angelica and Dr. Hale on September 9,
         2015.
         Partial transcript of Angelica Hale‟s Conversation with Assistant         16-4182
         Attorney General Carrie Barney on October 20, 2017.                     ECF 94, pg. 24

         Purpose: Proof that ESU withheld crucial evidence when they
130                                                                                               X
         announced the results of their internal “investigation” which should
         have been provided to both Angelica Hale and Dr. Hale on
         September 9, 2015.
         KVOE April 6, 2018 article entitled “Angelica Hale seeks summary         16-4182
         judgment against ESU in civil case; university says Hale violated       ECF 94, pgs.
                                                                                   26-28
         court order.”
         Purpose: Proves that local media was willing to publish news stories
131      with potential adverse information regarding plaintiff, but not
         information which implicated ESU and its administrators. To also
         show how local media was influenced by ESU to deny coverage by
         employing “catch and kill” reports of the lawsuits brought against it
         for discrimination.
         Email from ESU President Allison Garrett regarding “The Jane             16-4182
         Story,” indicating that ESU was reopening the failed investigation      ECF 94, pgs.
                                                                                   33-34
         into the alleged actions of ESU professor Brian Schrader.
         Purpose: Proof that despite “significant community interest” in the
132                                                                                               X
         allegations brought forward by Angelica and Dr. Hale, and evidence
         of falsehoods told to the media by ESU Interim President Jackie
         Vietti and General Counsel Kevin Johnson, ESU has refused to
         reconsider its actions against two black employees.
         ESU Bulletin calls for an independent investigation of the “Jane,        16-4183,
         Kissing Professor” incident.                                            ECF 54, pgs.
133                                                                               205-206
         Purpose: To show that ESU students did not trust ESU internal
         investigations and covered other related stories but not the Hale


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         story.
         Kansas State policies on reporting hate crimes, etc., and the             16-4183, ECF
         distinction between an internal grievance report and a police report.    35, pgs. 90-101

         Purpose: To show that ESU insistence on the filing of an internal
134      grievance and a police report was contrary to best practices, even in
         Kansas, and that they took this stance in order to create a sham
         investigation and results and to obstruct justice.


         Partial transcript of the meeting with Vietti and Johnson on             16-4183, ECF
         September 9, 2015, and Vietti‟s demands for Dr. Hale in an               35, pgs. 103-
                                                                                      104.
         “extended cooling off period.”
135      Purpose: To prove that Vietti set out to discipline Dr. Hale without                       X
         any prior notice or discussion with Dr. Hale, and that Dr. Hale had
         no idea of why he was being disciplined, and that the allegations
         made by Vietti were biased and unfounded.
         Sworn declaration of Angelica Hale dated August 18, 2016.                15-4947, ECF
136      Purpose: Statement on Ms. Hale‟s experiences in SLIM in general,         71-1, pgs. 1-5

         and specifics regarding the April 8, 2015 incident.
         Sworn declaration of Melvin Hale dated August 18, 2016.                  15-4947, ECF
137      Purpose: Statement on Dr. Hale‟s experiences in SLIM in general,         71-2, pgs. 1-15

         and specifics regarding the April 8, 2015 incident.
         Sworn declaration of Angelica Hale dated October 23, 2017.               16-4183, ECF
138      Purpose: Statement on Ms. Hale‟s experiences in SLIM in general,          36, pgs. 1-7

         and specifics regarding the April 8, 2015 incident.
         Sworn declaration of Melvin Hale dated October 23, 2017.                 16-4183, ECF
139      Purpose: Statement on Dr. Hale‟s experiences in SLIM in general,         37, pgs. 1-13

         and specifics regarding the April 8, 2015 incident.
         Email from Dr. Hale to Vietti, et al. regarding the true definition of   16-4183, ECF
         hate crime, as found in ESU‟s own Annual Security and Fire Safety         35, pg. 201

         Report, dated 2013.
140      Purpose: To prove that the defendant was aware of the true
         definition of hate crime before they completed their investigation
         and called hate crime a misconception and a false legal notion
         induced by television and movies.
         Email from Dr. Hale to Angelica documenting his encounter with           16-4183, ECF
141      Dow in which she stated to Dr. Hale that Lauber told her not to talk      35, pg. 208

         to him.


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         Purpose: Shows that top administration was setting out to silence
         Dr. Hale by encouraging his colleagues, students and staff, and
         school organizations like the BSU and HALO not to communicate
         with him or Angelica, and that the cooling off period was a violation
         of free speech.
         AT&T Call Detail records showing the July 2, 2015 call to Dr. Hale        16-4183, ECF
         from the ESU PD, and his two calls to Lyon County Attorney Marc             35, pg. 96

142      Goodman which were not returned.
         Purpose: Shows that Dr. Hale tried to get a law enforcement-led
         investigation into his and Angelica‟s report of a hate crime.
         September 16, 2015 letter from Vietti to Dr. Hale regarding a               16-4183,
         mandatory referral to counseling.                                          ECF 35, pgs.
                                                                                     105-106
         Purpose: To show that Vietti made unsubstantiated accusations
         about Dr. Hale‟s conduct and disciplined without any consultation
143      with Dr. Hale to see if he had an alternative and valid explanation for                     X
         what transpired between him and Dr. Alexander and Dr. Andrew
         Smith. That Dr. Hale was being forced to retract his constitutional
         belief in the guilt of Rittgers without evidence such as a handwriting
         examination or a polygraph.
         August 13, 2015 emails between Dr. Sarah Sutton and Dr. Hale.             16-4183, ECF
         Purpose: To show that Dr. Hale was not viewed as a bully by his            35, pg. 108
144
         colleagues, in direct contrast to the false profile of him claimed by
         defendant.
         KVOE story regarding Melvin Hale‟s dismissal dated February 6,            16-4183, ECF
         2016.                                                                      35, pg. 117

         Purpose: An example of how local media was willing to publish
145      negative discrediting stories about Angelica and Dr. Hale and their
         protests, but not about news uncomplimentary to the university.
         Proof of the hegemonic control of media and business interests in
         Emporia and Kansas and “catch and kill” tactics.
         A photocopy of the notebook page with the word “NIGGAZ” on it.               16-4183,
                                                                                     ECF 35, pg.
146      Purpose: To show an actual photocopy of the offensive racial slur
                                                                                    124; see also
         found in a graduate student‟s notepad in a locked office.
                                                                                   16-4182, pg. 58
         Admission by Debra Rittgers that Room 413 did not have a problem
         with the locking mechanism.
147                                                                                                  X
         Purpose: Proves that statements made to the contrary were invented
         to deflect scrutiny of who might have written the racial slur.


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         Emporia Gazette article on ESU receiving a Jefferson Muzzle               16-4183, ECF
         Award.                                                                    35, pgs. 141-
148                                                                                     142
         Purpose: To show that ESU‟s flaunting of the First Amendment was
         taken notice of on a national stage, on account of protests.
         A copy of the document in which President Jackie Vietti announced         15-4947, ECF
         the results of the 2015 internal “investigation” into the report of a     13, pgs.36-40

149      hate crime.
         Purpose: Documentation of an official statement describing the
         investigation and its results.
         Article printed in The Bulletin on October 1, 2015 entitled: Hale         15-4947, ECF
         Must Retract or Face the Axe.                                             13, pgs. 48-50

         Purpose: Evidence that ESU prevented SLIM employee Debra
         Rittgers from taking a handwriting examination and a polygraph test
150
         to prove she was innocent of writing the racial slur; that the
         university was aware of the opinion of forensic document examiner
         Wendy Carlson; and that ESU exonerated Rittgers by ignoring
         forensic evidence and best investigative practices.
         December 14, 2015 letter from Cordle to Dr. Hale informing him            15-4947, ECF
         that his contract would not be renewed.                                   71, pgs. 101-
151                                                                                     102         X
         Purpose: Evidence of adverse employment action against
         Angelica‟s husband, Dr. Hale on account of protected activity.
         Email from Angelica Hale to Wendy Carlson dated July 1, 2015              15-4947, ECF
         informing her that she had provided her opinion on the writing of the      49-1, pg. 21

         racial slur, and that the ESU Police Dept. might be contacting her.
152      Purpose: Shows that Angelica and Dr. Hale wanted to allow law
         enforcement handle the investigation into their claims of a hate
         crime, and that they wanted law enforcement to step up to dealing
         with the forensic document examiner.
         Photo of the toner box label written by Rittgers that led Angelica to     16-4182, ECF
         believe that the writing there was similar to the writing of the racial   86, pgs. 192-
                                                                                        193
         slur.
153
         Purpose: Proof that Angelica Hale arrived at her belief that Rittgers
         may have been the author of the slur by objective methods, not by
         any subjective bias.
         Dow‟s opinion that the hare speech incident was a hate crime, and         15-4749, ECF
154      that she wished that Vietti would admit it.                                71, pg. 86,     X
                                                                                    referencing
         Purpose: Evidence that the faculty chair, a person in a senior role at
                                                                                   ECF 20, pg. 11

                                                       19
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         ESU SLIM who was in a good position to know had believed that
         the incident was a crime.
         Dow‟s statement that “You and Angelica both went about [reporting        15-4749, ECF
         the bias incident] in a very prudent way. It was responsible yet it       71, pg. 86,
                                                                                   referencing
         wasn‟t flamboyant or unreasonable. You know, you tried to solve
                                                                                  ECF 20, pg. 11
155      it.”                                                                                        X
         Purpose: Evidence that the faculty chair, a person in a senior role at
         ESU SLIM who was in a good position to know believed that
         Angelica and Dr. Hale‟s report of the bias incident was reasonable.
         Dr. Hale‟s EEOC and KHRC Complaints.                                      15-4947, ECF
156                                                                                20-1, pgs. 5-7
         Purpose: Documentation of Dr. Hale‟s complaint against ESU et al.
         Letter from Vietti to SLIM student Gabrielle Fuentes                      15-4947, ECF
157      Purpose: Shows what Vietti was saying at that time regarding the           19-3, pg. 2

         “investigation.”
         Facebook post from a SLIM student describing being told not to ask        15-4947, ECF
         Dr. Hale for a reference.                                                  56, pg. 106
158
         Purpose: Evidence that the administration was endeavoring to
         silence and isolate Dr. Hale, depriving him of constitutional rights.
         Peer-reviewed study which denounces ostracism as worse than overt         15-4947, ECF
159      discrimination.                                                           56, pgs. 39-41

         Purpose: Scientific evidence of the damage of ostracism.
         Text messages between Angelica Hale and Deidra Elijah regarding           17-4019, ECF
         Deidra speaking to her government class about the upcoming march.         63, pgs. 73-74
160
         Purpose: Shows that there was public interest in the march and the
         subject matter of the march.
         Facebook post by Deidra Elijah as BSU Vice President indicating           15-4947, ECF
         their support for the Hales and the protest march against racism.          17-1, pg. 18
161
         Purpose: Shows that Deidra, the BSU Vice President, supported the
         march against racism at ESU and the Hale‟s protests.
         Article in American Libraries announcing two task forces on               15-4947, ECF
         accreditation showing that Dow was on the committee for the              17-1, pgs. 54-55

         Context of Future Accreditation.
         Purpose: Shows that the ALA supported SLIM to the extent that it
162
         would elect Dow to a accreditation committee even while SLIM
         itself was under examination and facing strong criticism from the
         ALA External Review Panel for problematic leadership and extreme
         employee turnover.


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         Document entitled: Economic Damages In An Employment Case,
         Calculations And Assumptions, by John A. Beranbaum, Beranbaum
163      Menken & Ben-Asher LLP.
         Purpose: Provides legal and economic guidance for calculating
         damages in employment cases such as this.
164      Sound recording from August 26, 2015 SLIM Faculty Meeting

         Sound recording of Wendy Carlson‟s Handwriting Opinion on the
165
         slur.
         Sound recording of August 17, 2015 phone conversation between
166
         Dr. Melvin Hale and Dr. Mirah Dow.
167      Sound recording from KVOE of September 9, 2015 ESU Press Conf.

         Sound recording of September 9, 2015 meeting with Vietti and
168      Kevin Johnson, Melvin Hale, and Lawrence, KS attorney David
         Treviño.
         Facebook posts by George Head.
169      Purpose: Proves that concerns about racism and discrimination have
         long existed on the ESU campus.
         Facebook posts by Danica White and Emporia Social Justice
         Supporters group.
170
         Purpose: Shows that minority students currently enrolled at ESU do
         not feel safe or supported by the administration.
         Bulletin articles and social media posts relating to the
         “investigation” and diversity at ESU.
171      Purpose: Editorial calls into question the validity of internal
         investigations at ESU, and obliquely mentions the investigation into
         the hate crime reported by plaintiff.
         Restricted Certified Mail, with trial subpoena enclosed, addressed to
172      Ray Lauber‟s home in Osage City. Post Office status: item refused
         by addressee.
         Restricted Certified Mail, with trial subpoena enclosed, addressed to
173      Sarah Spoon‟s permanent residence in Fredonia, KS. Post Office
         status: item refused by addressee.
         Document from sheriff stating that they contacted Sarah Spoon‟s
         mother at the Fredonia address to serve a trial subpoena, and was
174
         told that Sarah was not there, but would be there later. They
         requested that Sarah call or go to the sheriff‟s office to receive the



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           subpoena. Sarah has not contacted the sheriff.
           First video of Debra Rittgers stalking Angelica on the 4th floor of
  175
           SLIM.
           Second video of Debra Rittgers stalking Angelica on the 4 th floor of
  176
           SLIM.
  177      Timeline to termination graphic.

           Photo taken at the La Hacienda Mexican Restaurant on July 27, 2015
           showing Angelica Hale, Dr. Melvin Hale, Jason Brooks, George
           Head and Earl Givens.
  178
           Purpose: Shows that plaintiff‟s report of racial discrimination and
           retaliation was initially supported by student leaders and staff at
           ESU.
           Restricted Certified Mail, with trial subpoena enclosed, addressed to
           Gwendolyn Alexander‟s permanent residence in Emporia, KS
  179      forwarded to Aurora, CO where it went out for delivery on
           December 21, 2015. Post Office status on Dec. 26, 2018: Out for
           delivery.
           2016 resume of Kevin Johnson showing his work as an
           administrative law judge for the Kansas Human Rights Commission.
           Purpose: Evidence that the KHRC had a close working relationship
           with Johnson, ESU‟s general counsel, and that they should have
           recused themselves from investigating Hale‟s claims. As it turned
           out, the KHRC did nothing with plaintiff‟s complaint after having it
  180
           for over 300 days. Plaintiff was told that her initial complaint would
           be amended to include additional claims, such as those which
           occurred before April 8, 2015, but the KHRC never worked with
           plaintiff to amend her complaint, and conducted no investigation into
           her claims. They had a conflict of interest involving Johnson, and
           should have acknowledged that from the onset.




            Trial Witnesses Which Plaintiff Intends to Call to Testify
Candace Kitselman
2006 Colorado Ave.
Emporia, KS 66801
620-794-3494

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Gwendolyn Alexander
1427 Washington St.
Emporia, KS 66801
620-757-9809

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Michael Morales
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David Cordle
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Jhon Huachaca
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Emporia, KS 66801

Kayla Gilmore
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Debra Rittgers
201 S. Maple ST.
Lebo, KS 66856

Ray Lauber
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Osage City, KS 66523
Sarah Sutton
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Emporia, KS 66801

Mirah Dow, Ph.D.
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1614 Rural St.
Emporia, KS 66801



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                                 CERTIFICATE OF SERVICE



Case No. 16-4182-DDC-TJJ

I hereby certify that on this 2nd day of January, 2019, I electronically filed the foregoing with the

Court by email at ksd_clerks_topeka@ksd.uscourts.gov, and a notice of electronic filing was sent

via the CM/ECF system to all counsel of record.

                                                      /s/ Angelica Hale

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